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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
NIGEL JONES,                                                   :   TRANSFER ORDER
                           Movant,                             :
                                                               :   13 Civ. 2146 (LAP)
         -against-                                             :
                                                               :
UNITED STATES OF AMERICA,                                      :
                                                               :
                           Respondent.                         :
                                                               :
---------------------------------------------------------------X

LORETTA A. PRESKA, Chief United States District Judge:

        Movant brings this pro se motion challenging a December 27, 2012 order from the

United States District Court for the District of Connecticut in his pending criminal proceedings,

United States v. Smith et al., No. 3:12 Cr. 105 (RNC) (D. Conn. Dec. 27, 2012) (Dkt. 442).

Movant appears to have mailed this criminal motion in error to this Court rather than to the

District of Connecticut. Therefore, this matter is hereby transferred to the United States District

Court for the District of Connecticut.

        The Clerk of Court is directed to assign this matter to my docket and to mail a copy of

this order to Movant. The Clerk of Court is further directed to transfer this action to the United

States District Court for the District of Connecticut. This order supersedes the provision of Rule

83.1 of the Local Rules for the Southern District of New York that requires a seven-day delay

before the Clerk of Court may effectuate the transfer of the case to the transferee court. This

order closes this case.

        The Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that any appeal from this order

would not be taken in good faith, and therefore in forma pauperis status is denied for the purpose

of an appeal. See Coppedge v. United States, 369 U.S. 438, 444-45 (1962).

        SO ORDERED:

Dated: April 5, 2013
       New York, New York
